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                       UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION


                                 No. 6:24-cv-00306



                                State of Texas, et al,

                                                Plaintiffs,
                                         v.


                           United States Department of

                             Homeland Security, et al.,

                                                Defendants.




               PETITION FOR A WRIT OF ERROR CORAM NOBIS
      The Writ of Error Quae Coram Nobis Resident ( Let the record remain before

us when applied to King s Bench) and Quae Co am Vobis Resident (“Let the record

remain before you (when applied to the Court of Common Pleas) were created in

England by the Curia Regis (“royal council which consisted of the King of England

and his most loyal advisors) in the Eleventh Century. In English Law, the definition

of “coram nobis evolved and is now re-defined as a remedy for a court to correct its

own error. Daniel F. Piar, Using Coram Nobis o Attack Wrongful Convictions, a New

Look at an Ancient Writ, N. Ky. Law Review 505 (2003). As the Supreme Court had

stated, “It cannot be questioned that the appropriate use of the writ of error coram




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vobisis to enable a court to correct its own errors -- those errors which precede the

rendition of judgment. Pickett's Heirs v. Legerwood, 32 U.S. 144, 147 (1833)


      Traditionally a Writ of Error Coram Nobis was used before a final jud ment

was issued. As pointed out by the Supreme Court in Pickett's Heirs, use of the writ

of error coram vobisis to enable a court to correct its own errors - those errors which

precede the rendition of judgment , (emphasis added) That is how the Movant has

used the Writ in this case.


      Writs of Coram Nobis ave also been used in criminal proceedings to re-open

or set aside judgments or convictions previously entered. In this regard, Congress has

on occasion limited the use of Writs of Coram Nobis in criminal proceedings. At one

point, Congress put a Statute of Limitations on the Writ in criminal proceedings, The

legislation limited the use of a Writ of Coram Nobis o five years after the Judgment

or conviction in a criminal trial was entered. More recently, Congress banned the use

of the Writ in criminal proceedings entirely. Rule 60 (e), Fed. R. Civ. P. This has not,

however, limited the use of a Writ of Error Coram Nobis in a civil proceeding prior to

judgment.



      In Strode v. The Stafford Justices, 23 F. Cas. 236 (C.C.D. Va 1810) (No. 13,537)

a defendant in a civil case attempted to re-open a judgement in a civil case using a

Writ of Error Coram Nobis. Since more than five years had passed since the civil

judgment had entered, the plaintiff defended that the Statute of limitations bared the

Writ of Error Coram Nobis filed by the defendant. Supreme Court Chief Justice


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Marshall, sitting on the Bench of what is now the 4th Circuit Court of Appeals, ruled

in favor of the defendant holding that the Writ of Error Coram Nobis was not covered

by the Statute of Limitations covering Writs of Coram Nobis. That same precedent

applies to this Court.


      A Writ of Coram Nobis is a step in the original case and not the beginning of a

separate proceeding. As a result, district courts must file Petitions for Writs of Coram

Nobis under the original case number. Telink, Inc. v. US.,24 F.3d 42, 46 (9th Cir.

1994) Further, when a Petition for a Writ of Error Coram Novis is filed with the

Court, it must be docketed and the Petition must be ruled upon. This is because

district court decisions on Petitions for a Writ of Error Coram Novis are reviewable

on appeal. See, U. S. Circuit Court of Appeals for the Fifth Circuit Rule 4 which

provides: (C) An appeal from an order granting or denying an application for a writ

of error coram nobis is an appeal in a civil case for purposes of Rule 4(a). Generally,

the standard of review is that any district court's determinations on questions of law

are reviewed de novo, but that district court's determinations on questions of fact are

reviewed for clear error (or clearly erroneous error). Under de novo review of federal

coram nobis cases, the appellate court acts as if it were considering the question of

law for the first time, affording no deference to the decision of the district court. Under

Clear Error review of federal coram nobis cases, the appellate court must have a

"definite and firm conviction that a mistake has been committed" by the district court.

Concrete Pipe & Products of Cal. v. Construction Laborers Pension Trust for

Southern Cal., 508 U.S. 602, 622 (1993)


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                       The Fundamental Error in this Case


      There is one Fundamental Error presented in this case which, to date, has

not been presented to this Court.



Are Joseph Biden and Kamala Harris acting through the Department of Homeland
           Security guilty of Crimes against Humanity and Genocide

                                    ARGUMENT


 Barack Obama. Joseph Biden, Kamela Harris, members of their administrations
        and others, are guilty of Crimes against Humanity and Genocide

      There is absolutely no question that after October, 2014, Barack Obama,

Joseph Biden and Kamala Harris allowed Unaccompanied Minor Children (UMCs)

to enter the United States after which Defendant Department of Homeland Security

(DHS) transported the UMCs to Republican Election Districts throughout the United

States. As is demonstrated by the Memorandum of Law in Support of this Petition

and the accompanying Exhibits, this allegation is beyond dispute.


                                    CONCLUSION


      The Petitioner demands that this Court decides whether or not the Petition for

Writ of Error Coram Nobis should be granted before going forward with any further

proceeding. If the Petition is granted, the Court must consider whether it should

order the government be estopped from implementing the PIP Program. This Court

must further decide if the States through its Attorney Generals must be Ordered to




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immediately convene a Grand Jury to investigate whether or not the char es made

by the Petitioner are warranted and whether a criminal indictment should be issued.


Dated: September 7, 2024


                                                    Respectfully submitted,




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                                 CERTIFICATION


      The Petitioner hereby certifies that a copy of this Petition was served upon

lead counsel for all parties by U.S. Mail, Postage-Prepaid on September 7, 2024.




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